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                                    1111




                           Exhibit 1
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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

   ----------------------------------------------------------------------

   AHARON MILLER, ET AL .,

                                       P LAINTIFFS ,                        Case No. 1:18-cv-02192-BMC-PK

            -V-

   ARAB BANK, PLC,

                                       Defendant.
   ----------------------------------------------------------------------




   N ATHAN P AM , ET AL .,

                                       P LAINTIFFS ,                        Case No. 1:18-cv-04670-BMC-PK

            -V-

   ARAB BANK, PLC,

                                       Defendant.
   -------------------------------------------------------------




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                  DECLARATION OF AIMAN Y. ODEH

  Pursuant to 28 U.S. Code § 1746, I hereby declare as follows:



                                INTRODUCTION
   1.    I have been engaged by counsel for Arab Bank plc (“Arab Bank” or the “Bank”), as
        an expert on the banking laws and practices of the Hashemite Kingdom of Jordan
        (“Jordan”), as well as the Jordanian legal system generally.

   2. I am an attorney in Jordan since late 1985, and the senior partner in the law offices
      of Bakr & Odeh with an office in Amman, Jordan.

   3. I have a Bachelor of Law Degree from the University of Jordan, Amman, Jordan,
      and a Masters of Comparative Law Degree from the University of Miami, Miami,
      Florida.

   4. I have been a member of the Jordanian Bar Association since 1985. Since that time,
      and with exception of the years 1988 - 1990 (during which I was working as legal
      counsel in Kuwait), 2008 - mid 2010 (during which I was the Minister of Justice) and
      late 2011 – mid 2012 (during which I was the Minister for Cabinet Affairs and
      Legislation), I have regularly appeared before the courts of Jordan and arbitral
      tribunals within and outside Jordan. I have represented the Central Bank of Jordan
      in various legal matters. I am currently a board member of the Central Bank of Jordan.
      Additionally, I provide legal services for various Jordanian and non- Jordanian banks
      operating in Jordan.

   5. I am very knowledgeable regarding the laws of Jordan that are relevant to this
       declaration. In particular, I was a member of the committee that drafted the Banking
       Law of 2000 and its Amending Law No. 7 of 2019 in addition to the Deposit
       Insurance Corporation Law of 2000.

   6. I was an alternate judge for the Arab Investment Court, which is a part of the Arab
      League in Cairo. I am an overseas associate at 4 New Square Chambers in London,
      and a member of the Panels of Arbitrators of the World Bank (International Center
      for Settlement of Investment Disputes-ICISD).




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   7. I have previously been a member of various committees concerned with judicial
      reforms in Jordan.

   8. The opinions expressed herein are based on my extensive legal experience and
       practice, including in particular my firsthand knowledge of matters pertaining to
       bank secrecy in Jordan.

   9. A copy of my resume is attached hereto as Exhibit A.



                               SCOPE OF OPINIONS

   10.I understand that Arab Bank, a Jordanian public shareholding company, is currently
       a defendant in the above-captioned civil lawsuit, which was brought by multiple
       United States citizens (“Plaintiffs”) against the Bank in the United States District
       Court for the Eastern District of New York (the “Court”). I further understand that
       the litigation relates to injuries allegedly suffered by the Plaintiffs as a result of
       attacks allegedly committed by Hamas and other organizations which occurred in
       the State of Israel between September 2000 and December 2004, during the period
       known as the Intifada Al Quds.
   11. It is my understanding that the Plaintiffs have requested the production by the Bank
        of certain documents or categories of documents relating to certain customers of
        the Bank and that certain of the documents are located in Jordan. Arab Bank has
        further informed me that the court will be considering whether to order such
        disclosure.
   12. Accordingly, I have been asked by Arab Bank’s counsel to offer my opinion with
        regard to Jordan’s banking laws and practices, and particularly Jordanian bank
        secrecy law—Jordanian Banking Law, Articles 72-75 or other laws that are
        applicable in Jordan. I also have been asked to opine on Jordanian law and the
        Jordanian legal system more broadly in order to provide context for the Bank’s
        inability to comply with Plaintiffs’ requests for the production of documents
        located in Jordan.




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   13. I am presenting this declaration to assist the Court in connection with the discovery
        proceedings. I would be pleased to provide any further advice or explanation the Court
        might wish or to answer any questions the Court might have regarding Jordanian law
        or the reasons why the privacy rights described herein are so essential to the effective
        functioning of Jordan’s banking system.


                                     BACKGROUND

   14. Jordan regulates financial institutions through a comprehensive legal framework,
       including anti-money laundering and counter-terrorist financing measures. Penal
       Code No. 16 of 1960, which replaced the ‘Provisional’ Penal Code No. 85 of 1951,
       as amended by Provisional Law No. 54 of 2001 which was replaced by the Amending
       Law No. 16 of 2007, arts. 147-149 and as further amended by the Amending Law No.
       27 of 2017, arts. 147 & 148; Anti-Terrorism Law No. 55 of 2006 as amended by the
       Amending Law No. 18 of 2014; Anti-Money Laundering Law No. 46 of 2007, as
       amended by (i) Provisional Law No. 8 of 2010 which inserted several amendments
       including, inter alia, amending its title to become “Anti-Money Laundering and Counter-
       Terrorist Financing Law” (“AMLCTFL”) and was replaced by the Amending Law no.
       31 of 2015, and by (ii) Provisional Law no. 31 of 2010 which was repealed on 16 June
       2015; the AMLCTFL was replaced by Anti-Money Laundering and Counter-
       Terrorist Financing Law No. 20 of 2021; see also Central Bank of Jordan’s
       Instructions for Anti-Money Laundering and Terrorism Financing No. 14 of 2018
       which replaced each of the Central Bank of Jordan’s Circular no. 10/2/4/8874 dated
       3 July 2016 and Instructions No. 51 of 2010, which in turn replaced Instructions No.
       48 of 2010, which in turn replaced Instructions No. 48 of 2008, which in turn replaced
       Instructions No. 29 of 2006, which in turn replaced Instructions No. 10 of 2001.

   15. Jordan is also a party to the International Convention for the Suppression of the
        Financing of Terrorism, Dec. 9, 1999, 2178 U.N.T.S. 229 (the “Convention”) and
        incorporated the Convention’s provisions into its Law No. 83 of 2003. Obligations
        under the Convention include the sharing of information in connection with criminal
        investigations or proceedings by government parties in which circumstances, it
        provides that a signatory “may not refuse a request for mutual legal assistance on the
        ground of bank secrecy.”

   16. The concept of bank secrecy within Jordanian society, and in general in many other
       countries in the Middle East is an extension of the idea that one’s bank account and
       financial information is an essential part of the privacy rights of every citizen. Many
       of these laws which were formally enacted decades ago (in the case of Jordan starting
       from 1951) were not meant to shield information which could endanger the safety of
       other citizens but rather to enhance trust and confidence in the banking system for a
       population which customarily dealt in cash transactions. Indeed, there are certain very
       limited circumstances under which such information may be disclosed, such as



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         government -to- government cooperation in criminal investigations or proceedings
         addressed in the Convention.

      17. The United States has recognized that “The United States has no closer ally than
           Jordan in the war on terror and Jordan will find no better friend than the United
           States in this difficult hour.”1 The United States also has stated to courts in the past
           that the Bank serves as “a constructive partner with the United States in working to
           prevent terrorist financing.”2

      18. Jordan routinely complies with state-to-state requests in criminal matters as they are
           tempered by cooperation between government officials who are aware of their
           sensitivities. However, discovery requests in connection with litigation of civil claims
           brought by private litigants seeking monetary damages, such as the claims against
           Arab Bank, do not fall within the categories within the exceptions to the law as more
           fully described below.




  1
   Remarks by Secretary of State Rice on the Terrorist Bombings in Jordan, Nov. 9, 2005. See U.S. Department of State website at
  https://www.state.gov.
  2 See U.S. amicus curiae brief filed with the U.S. Supreme Court in Arab Bank, plc v. Courtney Linde, et al. [No. 12- 1485]




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                              JORDANIAN BANK SECRECY LAW

   19. The privacy of Jordanian citizens has long been a settled principle of Jordanian
       culture. In this regard, Article 355(3) of the Jordanian Penal Code for the year
       1960 states that a person who reveals confidential information without a justified
       reason of which he became aware of through his/ her profession, is subject to
       imprisonment for a period of up to three years. The issue of privacy becomes even
       more sensitive when it is related to an individual’s financial transactions.

   20. Banks operating in Jordan have historically maintained as confidential the account
       records of their customers and any banking information, and have had to comply
       with a number of laws touching on the issue of bank secrecy -- such as the
       prohibition against disclosure of bank account information even to Jordanian tax
       authorities. Article 22(a) of the Income Tax Law No. 57 for the year 1985 entitles
       the Director General of the Income Tax Department to obtain any information
       relating to any taxpayer from any person whether in the private or public sector
       with the exception of information relating to banking transactions. In order to
       obtain information relating to banking transactions, a decision has to be taken for
       this purpose from a competent judicial authority.4

   21. Furthermore, Article 45(b)4 of the Central Bank of Jordan Law for the year 1971
       states that all information submitted to the Central Bank of Jordan will be
       considered confidential. In addition, Article 23(b) of the said Law obliges all
       employees of the Central Bank of Jordan to take an oath to preserve the secrecy of
       all decisions, actions and transactions resulting from the activities of the Central
       Bank of Jordan.

   22. In 2000, the Government of Jordan determined that there should be a
       comprehensive banking statute, setting forth criminal penalties for any breach of
       confidentiality of the records of bank clients. Further, this legislation addressed
       ambiguities with respect to a bank’s obligations, for example where a court would
       issue an ex parte order to disclose bank records to a third-party seeking information
       on assets of another in anticipation of litigation (this practice was prohibited by
       the new law). A comprehensive law, with criminal penalties, was also important
       to show the international community that Jordan honors the privacy of bank
       customers. Finally, the law codifies the long-standing interest in the Jordanian
       culture of preserving individual privacy.




  3 A decision from a “competent judicial authority” means an order either from a court or a prosecutor in case of criminal matters.
  4 This was paragraph (c) of Article (45) of the Central Bank of Jordan Law of 1971 which was first inserted into the Central Bank Law
  through the Amending Temporary Law No. 19 of 1979 that was later replaced by the Amending Law No. 16 of 1992. Thereafter, the
  Amending Law No. 24 of 2016 changed the numbering of this paragraph from (c) to (b).




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   23. Articles 72 through 75 of the new Banking Law No. 28 of 2000 (the “Banking
       Law”) set forth the governing bank confidentiality rules applicable in Jordan.

   24. Article 72 states: “A bank shall observe full confidentiality regarding all accounts,
       deposits, trusts, and safe-deposit boxes of its customers. It shall be prohibited from
       providing directly or indirectly any information thereon except upon a written
       consent of the owner of such account, deposit, trust or the safe-deposit box, or an
       heir of his, or upon a decision issued by a competent judicial authority in an
       existing litigation, or due to one of the permissible situations pursuant to the
       provisions of this law. This prohibition shall remain in effect even if the
       relationship between the bank and the client has terminated for any reason
       whatsoever.”

   25. Article 73 states: “All present and former administrators of the bank shall be
       prohibited from providing any information or data on the clients or their accounts,
       deposits, trusts, safe-deposit boxes, or any of their transactions, or disclosing or
       enabling others to have access to such information and data in situations other
       than those permitted under this law. Such prohibition shall apply to anyone who
       by virtue of his profession, position or work, directly or indirectly, may have
       access to such information and data, including employees of the Central Bank and
       auditors.”

   26. Article 74 sets forth certain limited exceptions to application of the bank secrecy
       provisions: “The provisions of Articles 72 and 73 of this law shall not apply to the
       following:

         a) The duties provided in law to be performed by the auditors appointed by the
            general assembly of a bank or by the Central Bank pursuant to the
            provisions of this law.

         b) The acts and measures undertaken by the Central Bank pursuant to this law
            or the Central Bank Law.

         c) The issuance of a certificate or statement on the reasons for the refusal to
            cash any check upon request of an entitled person.

         d) The exchange of information pertaining to clients on their debit balances in
            order to provide necessary data to ensure safety of credit granting, checks
            retained unpaid or any other act deemed necessary by the Central Bank due
            to its relevance to the safety of banking. It is provided that the exchange of
            information is between banks, the Central Bank or any other companies or
            entities approved by the Central Bank for the purpose of facilitating the
            exchange of such information.

         e) Disclosure by a bank in full or in part, of statements on transactions of a
            client necessary to substantiate a claim of the bank in a judicial dispute
            between the bank and the client in respect of such transactions.”

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      27. Article 75 sets forth the criminal penalties for violation of the bank secrecy
          provisions: “A person who has violated the provisions of Article 72 or Article 73
          of this law shall be punished with imprisonment for a period not less than six
          months, or a fine not less than ten thousand Dinars and not more than fifty
          thousand Dinars, or with both penalties.”

      28. In addition to Articles 72 through 75 of the Banking Law, Article 88 of that statute
          provides for additional sanctions to be imposed on any bank or any of its
          employees that violates the Law, including the bank secrecy provisions:

            Article 88 states:
          a. The Central Bank may take any measure or impose any penalty of those provided
            for in paragraph (b) of this Article in the cases where it is realized that a bank or
            any of its administrators has committed any of the following violations:
                            i. Contravention of the provisions of this law or any regulations,
                                instructions, or orders issued pursuant thereto.
                            ii. Conducting by the bank or one of its subsidiaries unsound and
                            unsafe operations against the interest of shareholders, creditors or
                            depositors thereof.
          b. Subject to the provisions of paragraph (d) of this Article, if any of the violations
            provided for in paragraph (a) of this Article is committed, the Governor may take
            one or more of the measure or impose one or more of the penalties provided
            below:
                     i. Addressing a written warning.

                          ii. Instructing the bank to submit a satisfactory program of measures to
                              be taken thereby to eliminate the violations and rectify the situation.

                          iii. Instructing the bank to cease certain activities, or forbidding the
                               bank from distributing dividends.

                          iv. Imposing a fine on the bank not exceeding five hundred thousand
                              Jordanian Dinars5.

                          v. Instructing the bank to temporarily suspend from service any
                              administrator, other than a member of its board of directors, or to
                              dismiss such administrator, depending on the gravity of the violation.
                          vi. Requesting the bank to pursue any of its administrators in
                              accordance with due process of law.

                          vii. Removing the chairman or any member of the board of directors of
                               the bank.

  5
      Such amount, for each breach, is equivalent to approximately $700,000.




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               viii. Dissolving the board of directors of the bank and placing the bank
                     under the management of the Central Bank for a period not to exceed
                     twenty-four months. The Governor may extend the said period as
                     necessary.

                ix. Revoking the license of the bank.


   29. The bank secrecy provisions of the Banking Law govern the disclosure of any
       bank information, statements, or documents regarding its customers’ accounts,
       deposits, trusts, or safe-deposit boxes. Additionally, any request for Arab Bank
       to authenticate bank client records produced by a party other than the
       accountholder would be deemed to be a disclosure of confidential records by the
       Bank and would subject Arab Bank and its employees to criminal liability if such
       disclosure was made in violation of the Banking Law.

   30. The bank secrecy provisions apply to banks, all present and former employees of
       banks, including all lower level employees up to and including the general
       manager, and all members of the boards of directors of banks. Additionally, this
       rule applies to anyone who, by virtue of his profession, position or work, may
       directly or indirectly access bank customer information, such as the employees of
       the Central Bank of Jordan and auditors of banks.

   31. The bank secrecy provisions also remain in force even after the customer
       relationship has ended, in accordance with the express terms of Article 72.



     EXPLANATION OF EXCEPTIONS TO BANK SECRECY

   32. The only exceptions to the banking secrecy provisions are found in Article 74 of
       the Banking Law, as noted above. None of the statutory exceptions stated in
       Article 74 apply to permit Arab Bank to disclose confidential bank information on
       the basis of a United States District Court discovery order.

   33. Article 72 sets out two instances in which the application of the banking
       confidentiality rules may be excluded, namely, (i) upon the written consent of the
       customer involved or one of his heirs or (ii) “upon a decision issued by a competent
       judicial authority in a current litigation.” The latter exclusion usually applies
       when either the customer or the bank is not a party to the litigation—that is, when
       one party is not suing the other party. If both the bank and its customer are parties
       to the litigation, then the bank may rely on the exception included in paragraph (e)
       of Article 74.




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       34. The requirements for the judicial decision exclusion of Article 72 to apply are as
           follows:
               i. That court proceedings be pending before the courts 6; and
               ii. That a decision for the lifting of the confidentiality obligation be issued
                   by a competent judicial authority.7

       35. The decision ordering the disclosure can be an interim or provisional ruling issued
           upon the request of one of the parties of a lawsuit, to enable it to collect evidence
           for the purpose of the lawsuit or for the purpose of attaching the assets of the other
           party. Needless to say, the judicial authority referred to above, has full discretion
           to decide whether it is necessary to issue the disclosure order. The judicial
           authority should be convinced that the information and documents sought are
           relevant and necessary for the purpose of the lawsuit. If it is the customer who is
           not a party to the lawsuit, the court usually requires more convincing arguments
           of the relevance of the customer information and documents to the subject matter
           of the lawsuit.

       36. A bank client’s right to privacy may be relinquished by consent of the client. In
           this case, the bank is required to strictly comply with the terms of the consent given
           by its client. Since such waiver is an exception per se, it should be express and
           clear and should be interpreted narrowly under the general principles of
           interpretation under Jordanian law. It follows that if the waiver is given in relation
           to a specific document to be disclosed to a specific party, this means that the bank
           is prohibited from future disclosures of such document to other parties and also
           from disclosure of other documents to that party.




   6
     For the avoidance of doubt, references to “the courts” mean the “Jordanian” courts.
   7
     For the avoidance of doubt, references to a decision of a “competent judicial authority” means either an order from a court or an order
   from a prosecutor in case of criminal matters.




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           PENALTIES FOR VIOLATING BANK SECRECY

   37. The penalties for the violation of the banking secrecy provisions of the Banking Law
       are criminal in nature. A violator of the banking confidentiality rules may be
       imprisoned for a period of not less than six months or be subject to a fine of not less
       than ten thousand Dinars but not more than fifty thousand Dinars, or be subject to
       both the imprisonment and the fine. The imprisonment period for such a crime may
       be up to three years under the general principles of the Jordanian Penal Code of
       1960.

   38. Additionally, under the general principles of the Jordanian Civil Code of 1976, the
       customer, i.e., the injured party, may sue the bank and the violator(s), for
       compensation as a result of the violation of the banking confidentiality rules. This
       civil claim may be filed as an ancillary to the criminal proceedings, or through a
       separate civil lawsuit before the Jordanian courts.

   39. Due to the strict penalties imposed on banks and their employees with regard to any
       breach of confidentiality of the records of the banks’ clients, such banks and
       employees are very cautious as to their compliance to such confidentiality rules.



    JORDANIAN LAW AND PROCEDURE REGARDING
           PRODUCTION OF DOCUMENTS

   40. To the best of my knowledge, there is no judicial treaty between Jordan and the
       United States of America for the purpose of the enforcement of the judgments and
       orders issued in civil cases by U.S. courts inside Jordan or vice versa. Therefore, a
       U.S. judgment or order cannot be enforced in Jordan unless it has become
       enforceable pursuant to the applicable laws of Jordan.

   41. The only applicable law in this respect is the Foreign Judgments Enforcement Law
       of 1952. According to this law, a judgment issued by a foreign court in civil
       proceedings and ordering the payment of an amount of money or concerning a
       moveable asset may be enforced in Jordan by filing a motion for this purpose upon
       the request of the judgment creditor before the competent Jordanian court against
       the judgment debtor. Interim or provisional rulings issued by foreign courts during
       the trial and before the issuance of a judgment on the merits, are not enforceable
       under the Foreign Judgments Enforcement Law of 1952 since they are not judgments
       on the merits for the payment of an amount of money or concerning a moveable
       asset.




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            APPLICATION OF JORDANIAN LAW
         TO THE DOCUMENTS SOUGHT IN THIS CASE

   42. In my opinion, a U.S. court discovery order compelling disclosure of bank
       documents in Jordan cannot be enforced per se as it will be in violation of the laws
       of Jordan and the Public Order. The applicable laws of Jordan for enforcing foreign
       judgments do not allow enforcement of an order or an interim judgment issued by a
       U.S. court for the disclosure of confidential bank customer information.

   43. Accordingly, Arab Bank cannot rely on such an order to disclose customers’
       confidential information and documents relating to its banking operations in Jordan.
       If Arab Bank did so, then the bank, and the employees involved, would be subject
       to the criminal penalties referred to in Article 75 of the Banking Law and,
       additionally, may be sued for compensation by the injured customer pursuant to the
       general principles of the Jordanian Civil Code of 1976.


   Executed on: March 3, 2022


                                                                     0
                                                                Aiman Y. Odeh




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 An overseas associate at 4 New Square Chambers, Aiman Odeh has been practising law in
 the Middle East region since 1985. He currently practises in Jordan. Aiman is well-versed
 in all forms of dispute resolution, especially in the fields of investment, concession
 agreements, banking, construction, agency and licensing agreements, securities, and
 regulatory matters. He also has extensive experience in investment disputes and ICSID and
 OIC arbitration, in addition to ICC and ad hoc arbitration. He is a current member of the
 Panels of Arbitrators of the World Bank (International Center for Settlement of Investment
 Disputes ICISD).

 Aiman held cabinet positions in the Jordanian Government between 2007 and 2012 and
 served as the Minister of Justice and Minister for Prime Ministry Affairs & Legislation. He
 also served as Senator. He is a current member of the Board of Directors of the Central
 Bank of Jordan. Accordingly, he has significant experience in constitutional matters and
 judicial reforms and has given advice on these matters to other Arab countries.

 Aiman is recognised by the leading independent legal directories for his skills and
 expertise. The Legal 500 lists him as one of only five Band 1 Leading Individuals for
 Jordan – Dispute Resolution, and he is ranked Band 1 in the same category in Chambers
 Global. Chambers says that he “is commended equally for his Jordanian and international
 experience”, and that “in finance disputes he is described as "expert on all banking
 knowledge" and "probably the best litigator in town."”. The Legal 500 describes him as an
 “eminent figure in the market”.

 Aiman is well-acquainted with the Foreign Sovereign Immunities Act (FSIA) and its
 exceptions, in addition to the anti-terrorism acts.

 He is also knowledgeable about the rules of Islamic Doctrine, upon which the civil laws
 applicable in many Middle East jurisdictions were founded.

 Aiman is fluent in Arabic and English.



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 PROFESSIONAL RECORD

 March 2019 – present      Overseas associate at 4 New Square Chambers, London
 Mid-2012 – present        Senior partner at Bakr & Odeh Law Firm, Amman, Jordan
 2011 – Mid-2012           Minister for Cabinet Affairs and Legislation, Jordan
 2007 – 2010               Minister of Justice, Jordan
 1990 – 2007               Attorney at Law practising before the Jordanian courts and
                           national and international arbitral tribunals
 1989 – 1990               Legal Consultant in Kuwait
 1984 – 1988               In-house Counsel at the Arab Bank, Head Office, Amman,
                           Jordan

 PRIVATE PRACTICE EXPERIENCE

 • Arbitration & Mediation Experience
   Represented governments, public institutions, public shareholding corporations and
   investors in mediation and arbitration cases before the International Centre for
   Settlement of Investment Disputes (ICSID) at Washington D.C., International Chamber
   of Commerce (ICC) at Paris, Permanent Court of Arbitration (PCA) at The Hague, and
   OIC (Organisation of Islamic Cooperation) at Jeddah, Saudi Arabia.

    Pending International Arbitration Matters:

          • The National Electric Power Company (Jordan) vs. Attarat Power
            Company (Jordan); ICC Case No. 25917/AYZ; the place of arbitration is
            London.
            Acting as counsel for the National Electric Power Company.

          • The Government of the Hashemite Kingdom of Jordan vs. Attarat Power
            Company (Jordan); ICC Case No. 25916/AYZ; the place of arbitration is
            London.
            Acting as counsel for the Government of the Hashemite Kingdom of
            Jordan.

          • Omar Bin Sulaiman Abdul Aziz Al Rajhi vs. The Sultanate of Oman in the
            matter of arbitration under the Agreement on Promotion, Protection and
            Guarantee of Investments among the Member States of the Organisation of
            the Islamic Conference and under the UNCITRAL Arbitration Rules 2010;
            PCA Case No. 2017-32; the place of proceeding is London.

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             Acting as counsel for Omar Bin Sulaiman Abdul Aziz Al Rajhi.

          • TRASTA Energy Limited v. The State of Libya in the matter of arbitration
            under the Agreement on Promotion, Protection and Guarantee of
            Investments among the Member States of the Organisation of the Islamic
            Conference; PCA Case No. 2020-09; the place of proceeding is Paris.
            Acting as counsel for TRASTA Energy Limited.

          • Libyan Emirates Oil Refinery Company (United Arab Emirates) vs.
            National Oil Corporation (State of Libya); ICC Case No. 24408/AYZ;
            the place of proceeding is Paris.
            Acting as counsel for Libyan Emirates Oil Refinery Company

          • TRASTA Energy Limited (United Arab Emirates) vs. National Oil
            Corporation (State of Libya); ICC Case No. 24722/AYZ; the place of
            proceeding is Paris.
            Acting as counsel for TRASTA Energy Limited.


    Concluded International Arbitration Matters:

          • Fouad Alghanim & Sons Co. for General Trading & Contracting, w.l.l. and
            Mr. Fouad Alghanim vs. the Government of the Hashemite Kingdom of
            Jordan before the International Centre for Settlement of Investment
            Disputes; ICSID Arbitration Case no. ARB/13/38 and subsequent
            annulment proceedings; the place of proceeding ws London.
            Acted as counsel for the Government of the Hashemite Kingdom of Jordan.

          • Central Electricity Generating Company vs. National Electric Power
            Company, an arbitration case under the UNCITRAL rules; the place of
            arbitration was Geneva.
            Acted as a party-appointed arbitrator.

          • Italstrade S.p.A. & Salini Costruttori S.p.A. (Italian) vs. the Government of
            the Hashemite Kingdom of Jordan before the International Centre for
            Settlement of Investment Disputes; ICSID Arbitration Case no. ARB/02/13;
            the place of proceeding was Paris.
            Acted as counsel for the Government of the Hashemite Kingdom of Jordan.




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 • Litigation Experience:
   Has represented a large number of foreign and local companies and banking institutions
   in a wide range of major cases (e.g., in relation to agency contracts, construction and
   supply contracts, banking transactions, insurance, administration disputes and general
   contracting).


 LEGISLATION EXPERIENCE

 Banking Law, Deposit Insurance Corporation Law, Islamic Sukuk Law, Income Tax Law,
 Sales Tax Law, Development and Free Zones Law, Aqaba Special Economic Zone Law,
 Social Security Law, Anti-Money Laundering Law, Economic Crimes Law, Penal Code,
 various Judicial Reform Laws & Regulations, and Constitutional Court Law.


 JUDICIAL REFORMS

 During Aiman’s tenure at the Ministry of Justice in Jordan, the Ministry implemented many
 judicial reforms, especially during 2008 and 2009, in addition to other reforms and projects
 that were reflected in the Judicial Development Strategy of 2010-2012. This strategy
 included many plans and projects relating to the restructure of the judiciary system and the
 administration of the justice process in the country, in addition to the revision of the rules
 and procedures of civil and criminal trials.

 In 2016, Aiman was a member of the Royal Committee for Judicial Reforms. The
 recommendations of this Committee were adopted and, as a result, 11 amending laws and
 four regulations relating to the Judiciary and court procedures were issued.

 APPOINTMENTS AND COMMITTEE WORK

 2014 – 2018:      Member of the Board of Trustees of the National Centre for Human
                   Rights, Amman, Jordan
 2016 & 2017:      Member of the Royal Committee for Judicial Reforms, Amman, Jordan
 2014 –2017:       Member of the Board of Trustees of Mu’tah University
 2010 & 2011:      Senator and member of the Senate’s Legal Affairs Committee
 2006:             Member, Economic Reform Committee, All-Jordan Forum, Jordan
 2005:             Member, Committee for Legislative and Judicial Reform, National
                   Agenda, Jordan
 2004 – 2006:      Judge, Arab Investment Court, Arab League, Cairo, Egypt
 2003:             Member, Anti-Corruption Committee, Amman, Jordan
 2000:             Member, Committee for Civil Procedure Reform, Amman, Jordan



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 EDUCATION

 1984 University of Miami, Miami, Florida, USA.
      Masters of Law.

 1982 University of Jordan, Amman, Jordan.
      Bachelor of Laws.


 LANGUAGES

 Arabic and English.




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